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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 JUAN JOSE HARO                                   §
      Plaintiff,                                  §
                                                  §
 v.                                               §       CIVIL ACTION NO.
                                                  §       4:24−cv−04466
 EQUISOLAR, INC., SOLAR MOSAIC,                   §
 LLC AND ASHLEY GERSHOONY                         §       JURY TRIAL DEMANDED
      Defendant.                                  §


          DEFENDANTS EQUISOLAR, INC., AND ASHLEY GERSHOONY’S
      CERTIFICATE OF INTERESTED PARTIES AND DISCLOSURE STATEMENT


TO THE HONORABLE COURT:

        COME NOW, DEFENDANTS EQUISOLAR, INC., AND ASHLEY GERSHOONY,

in the above-styled matter and file this their Certificate of Interested Parties and Disclosure

Statement.

        Pursuant to the Court’s Orders, the undersigned counsel for Defendants Equisolar, Inc. and

Ashley Gershoony (both private non-governmental parties) certify that there are no corporate

parents, affiliates and/or subsidiaries of said party, which are publicly held.

        Defendants Equisolar, Inc. and Ashley Gershoony certify that the following is a complete

list reflecting all known persons, associations of persons, firms, partnerships, corporations,

affiliates, parent corporations, or other legal entities that are financially interested in the outcome

of this litigation.

        1. Plaintiff Juan Jose Haro
           c/o Benjamin K. Sanchez
           Sanchez Law Firm
           150 W. Parker Rd., Suite 201
           Houston, Texas 77076


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DEFENDANTS EQUISOLAR, INC. AND ASHLEY GERSHOONY’S CERTIFICATE OF INTERESTED PARTIES
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       2. Defendant Equisolar, Inc.
          c/o Lema Mousilli – Attorney in Charge
          MOUSILLI LAW, PLLC
          11807 Westheimer Road, Suite 550 PMB 624
          Houston, TX 77077
          Telephone: (281) 305-9313
          Email: lema@mousillilaw.com

       3. Defendant Ashley Gershoony
          c/o Lema Mousilli – Attorney in Charge
          MOUSILLI LAW, PLLC
          11807 Westheimer Road, Suite 550 PMB 624
          Houston, TX 77077
          Telephone: (281) 305-9313
          Email: lema@mousillilaw.com

       4. Defendant Solar Mosaic, LLC

       Should other parties be added to this lawsuit who thereby become financially interested in

the outcome of this litigation, Defendants will promptly file an amended certificate with the Clerk

identifying such interested parties.



Dated: December 5, 2024                      Respectfully submitted,

                                             By: /s/ Lema Mousilli
                                             LEMA MOUSILLI
                                             Attorney-in-charge
                                             Texas State Bar No. 24056016
                                             S.D. Texas Bar No. 1358290
                                             MOUSILLI LAW, PLLC
                                             11807 Westheimer Road
                                             Suite 550 PMB 624
                                             Houston, TX 77077
                                             Tel: (281) 305-9313
                                             Email: lema@mousillilaw.com

                                             ATTORNEYS FOR DEFENDANTS’
                                             EQUISOLAR, INC., AND ASHLEY
                                             GERSHOONY




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DEFENDANTS EQUISOLAR, INC. AND ASHLEY GERSHOONY’S CERTIFICATE OF INTERESTED PARTIES
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                            CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document, and any

attachments, will be served on all counsel of record, in accordance with the governing rules of

procedure regarding service on this December 5, 2024, via electronic filing manager as follows:


Benjamin K. Sanchez
Sanchez Law Firm
150 W. Parker Rd., Suite 201
Houston, Texas 77076
Phone: 713-780-7745
service@sanchezlawfirm.com
Attorney for Plaintiff

                                                   /s/ Lema Mousilli
                                                   Lema Mousilli




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DEFENDANTS EQUISOLAR, INC. AND ASHLEY GERSHOONY’S CERTIFICATE OF INTERESTED PARTIES
